     Case 1:20-mj-00252 Document 10 Filed 10/14/20 Page 1 of 2 PageID #: 26
                              OFFICE OF THE CLERK
                       UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

JOHN A. CERINO                                                     LOCKBOX 18
   Clerk                                                          844 KING STREET
                                                                WILMING TON, DE 19801
                                                                    (302) 573-6 I 70


                              October 14, 2020

Clerk of Court
U.S. District Court
Western District of Michigan
399 Federal Building
110 Michigan St NW
Grand Rapids MI 49509


Dear Clerk's Office Staff:

       The case of U.S. v. Barry Croft (1:20-mj-416-SJB-2) is being
transferred to your court from U.S. District Court for the District
of Delaware. Kindly acknowledge receipt by signing and returning a
copy of this letter.

     Using your PACER account, you can retrieve the docket and any
unrestricted items using the Delaware case number 1:20-mj-252-1.
Since sealed documents are not uploaded to CM/ECF, we will send
them to you.

     Our Financial Staff has been copied with this information so
they can notify you if there are any bail, passport or criminal
debt matters in this case.

     Your address was obtained from the Criminal Transfer Process
page, hosted by the Northern District of Texas. Address changes can
be    made     by     sending     an    email     notice     to
InterDistrictTransfer TXND@txnd.uscourts.gov. If you should need
anything additional, I can be reached by email or by dialing
302-573-4602.

                                                     Sincerely,



                                                     Cailah Garfinkel
                                                     Deputy Clerk

finance/ceg
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I hereby acknowledge receipt of the record in the above
referenced case on              (date)




        Signature


        Title
